Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.482 Page 1 of 11




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                   IN THE UNITED STATES DISTRICT COURT
                    DISTRICT OF UTAH, CENTRAL DISTRICT

  ESTATE OF PATRICK HARMON SR.;
  PATRICK HARMON II, as Personal            OPPOSITION TO MOTION TO
  Representative of the Estate of           RECONSIDER ORDER OF REMAND
  Patrick Harmon Sr., and heir of
  Patrick Harmon Sr., TASHA SMITH,          Case No. 19-cv-00553-HCN-CMR
  as heir of Patrick Harmon Sr.,
                                            Judge Howard C. Nielson, Jr.
  Plaintiffs,
  v.                                        Magistrate Judge Cecilia M. Romero

  SALT LAKE CITY, a municipality;
  and OFFICER CLINTON FOX, in his
  individual capacity,
  Defendants.




                                        1
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.483 Page 2 of 11




    Plaintiffs Estate of Patrick Harmon Sr., Patrick Harmon II, and Tasha Smith
 (Plaintiffs) hereby oppose defendants Salt Lake City and Clinton Fox’s (the City)
 Motion to Reconsider Order of Remand [Dkt. No. 51].

                                   Introduction

    The City asks the Court to claw back state claims that were properly
 remanded to state court nearly a year-and-a-half ago. In so doing, it seeks to
 divest the state court of jurisdiction—arguing that it’s inefficient to have parallel
 state and federal tracks.

    Plaintiffs object because the City’s request is untimely. The City did not object
 to the remand, nor did it raise the issue with the Tenth Circuit on appeal,
 options that were clearly available, among others. At this point, though, the
 parties have engaged in substantial motions practice in state court on important
 issues of state law and discovery has commenced. Remand orders should not be
 unwound after substantial litigation in the state court.

    Even if the Court concludes it has the power to bring the state claims back, it
 should decline. Applying the principles of comity and federalism embodied in
 section 1367(c), the state claims involve fundamental state policy protected by
 multiple provisions of the Utah constitution. The importance of advancing these
 state legal questions in state court outweighs the benefit of convenience gained
 from unifying the federal claims. The state court has consented to coordinated
 discovery, minimizing redundancies. In total, the relevant factors weigh against
 reconsidering the Remand Order.

    The Court should deny the City’s motion.


                                           2
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.484 Page 3 of 11




                            Procedural Background

    1. This case was initiated by a civil complaint filed in the Third Judicial
       District for the State of Utah, case no. 190905238 (State Court). See State
       Docket at 1, attached at Ex. 1.

    2. The Complaint brought causes of action for (1) excessive force in violation
       of the Fourth Amendment of the United States Constitution, (2)
       deliberately indifferent policing policies in violation of the Fourth and
       Fourteenth Amendments of the United States Constitution, (3) violation of
       the Equal Protection Clause of the Fourteenth Amendment of the United
       States Constitution, (4) wrongful death pursuant to Utah Code § 78B-3-106,
       and (5) unnecessary rigor in violation of Article 1, Section 9 of the Utah
       Constitution. Dkt. No. 2-1.

    3. Claims 1 through 3 were brought under federal law (Federal Claims), and
       4 and 5 were brought under state law (State Claims). Dkt. No. 2-1.

    4. The City removed the case to this Court on federal question grounds
       pursuant to 28 U.S.C. §§ 1441 and 1446. Dkt. No 2.

    5. The City responded to the Complaint with a rule 12(b)(6) motion to
       dismiss, among other things, on qualified immunity grounds. Dkt. No. 12.

    6. After briefing and argument, the Court granted the motion and dismissed
       with prejudice claims 1 and 2, dismissed without prejudice claim 3, and
       declined to exercise supplemental jurisdiction over the State Claims. The
       Court allowed Plaintiffs’ 30 days to amend their complaint. Dkt. No. 29.

    7. Plaintiffs moved to remand the State Claims to State Court. Dkt. No. 30.
                                          3
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.485 Page 4 of 11




    8. The City informed the Court that it would not oppose Plaintiffs’ motion to
       Remand. See Mull Email, attached at Ex. 2.

    9. The Court remanded the State Claims to State Court (Remand Order). Dkt.
       No. 34.

    10. The Court mailed a copy of the Remand Order to the State Court. Dkt. No.
       39.

    11. Defendants filed a motion to stay in State Court. First Motion to Stay,
       attached at Ex. 3.

    12. Plaintiffs appealed the Court’s dismissal of claims 1 and 2 to the Tenth
       Circuit. Dkt. No. 31.

    13. In a written ruling, after briefing and argument, the State Court denied
       the City’s First Motion to Stay. See Order Denying First Motion to Stay,
       attached at Ex. 4.

    14. The City filed a motion to dismiss in State Court. Second Motion to
       Dismiss, attached at Ex. 5.

    15. After briefing and argument, the State Court denied the City’s motion to
       dismiss. Order Denying Second Motion to Dismiss, attached at Ex. 6.

    16. The City filed their answer to the State Claims. Answer, attached at Ex. 7.

    17. Plaintiffs and the City have exchanged initial disclosures.

    18. The Tenth Circuit reversed this Court’s dismissal of claims 1 and 2. Est. of
       Harmon v. Salt Lake City, No. 20-4085, 2021 WL 5232248, at *5 (10th Cir.
       Nov. 10, 2021) (unpublished).
                                          4
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.486 Page 5 of 11




    19. The City did not seek removal of the State Claims after the Federal Claims
       were reinstated.

    20. The City filed a motion to stay in State Court. Second Motion to Stay,
       attached at Ex. 8.

    21. The State Court denied the Second Motion to Stay. In its ruling, the State
       Court ordered, among other things, that discovery will run concurrent
       with this case, that “any issues that involve facts or procedure that are
       unique to the state court claims” be file in State Court, and the State Court
       “urge[d] the parties to explore any and all mechanisms that would reunify
       all (federal and state) claims in the federal court proceeding to avoid
       parallel litigation and multiple trials.” State Docket at 10.

    22. On the same day the State Court denied the Second Motion to Stay, the
       City filed its Motion to Reconsider Order of Remand. Dkt. No. 51.

    23. Plaintiffs hereby oppose reconsideration of the Remand Order.

                Legal Standard for a Motion to Reconsider

    The Tenth Circuit has “admonished counsel that the Federal Rules of Civil
 Procedure do not recognize that creature known all too well as the ‘motion to
 reconsider’ or ‘motion for reconsideration.’” Warren v. Am. Bankers Ins. of FL,
 507 F.3d 1239, 1243 (10th Cir. 2007).

    Of course, “a district court always has the inherent power to reconsider its
 interlocutory rulings,” and should do so “where error is apparent.” Id.




                                           5
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.487 Page 6 of 11




    Under this standard, “a motion for reconsideration is appropriate where the
 court has misapprehended the facts, a party's position, or the controlling law.”
 Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000).

                                      Argument
    1. Federal courts do not have discretion to reconsider section 1367(c)(3)
       remand orders after the state court exercises jurisdiction over the state
       claims and resolves important questions of state law.

    The City asks the Court to divest state claims that were properly remanded to
 the State Court from whence they came. It did not object to the remand, it didn’t
 appeal, it didn’t move to stay the remand pending appeal, and it didn’t remove
 from state court after the Federal Claims were reinstated. These were potential
 mechanisms to retain or reinstate the Court’s jurisdiction over the State Claims.
 A motion to reconsider the Remand Order is not, at least not this far into the
 state court litigation.

    The Remand Order. This Court properly remanded the State Claims to State
 Court. Dkt. No. 34. The City doesn’t dispute that. Dkt. No. 51. Instead, it asks the
 Court to reconsider the Remand Order now that the Federal Claims have been
 reinstated on appeal. Id. It argues that it would be inefficient to maintain
 parallel state and federal tracks. Id. at 4. But the City doesn’t provide authority to
 support that position, much less in this context, where the Remand Order was
 issued more than a year ago. Id. On that point, the motion should be denied
 because the City fails to supply authority for its request to divest the State Court
 of jurisdiction over State Claims.



                                           6
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.488 Page 7 of 11




    Plaintiffs’ motion for remand describes the type of remand order presented
 here. See Dkt. No. 30. In response to the Court’s order dismissing the State
 Claims without prejudice and declining to exercise supplemental jurisdiction
 over them, Plaintiffs moved for remand under the Court’s inherent powers
 embodied in 28 U.S.C. § 1367(c) and explained by the Supreme Court in
 Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 353 (1988). See Dkt. No. 30 at 4–5.
 The City did not oppose remand, and the Court granted the motion. See Dkt. No.
 34. Judgment was entered, Dkt. 35, and the case was closed after the clerk sent
 the Remand Order to the State Court, Dkt. 39.

    The City could have filed a notice of appeal on the Remand Order, given the
 possibility that the Tenth Circuit would reinstate the Federal Claims. Section
 1367(c)(3) remand orders, like the one here, are subject to appellate review. See
 Carlsbad Tech., Inc. v. HIF Bio, Inc., 556 U.S. 635, 641 (2009); see also Koch v.
 City of Del City, 660 F.3d 1228, 1236 (10th Cir. 2011). But the rules of procedure
 place clear time limits on a party’s ability to seek such review. Fed. R. App. P. 4.
 The City declined to raise this issue on appeal, and the parties pressed forward
 in State Court on remand.

    Time to reconsider Remand Order. District courts do not have unlimited
 discretion to reconsider section 1367(c)(3) remand orders, as the City suggests.
 See Dkt. No. 51 at 3. After the state court makes important merits-based rulings,
 review of the remand is no longer available, if not before.

    Defendants provide one case to justify their position that the “court can and
 should reconsider its order of remand[.]” Dkt. No. 51 at 3 (quoting Baca v. Sklar,
 398 F.3d 1210, 1222 n.4 (10th Cir. 2005)). The footnote in Baca is nonbinding

                                           7
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.489 Page 8 of 11




 dicta, with little to no purchase. See Baca, 398 F.3d at 1222 n.4. It’s an invitation
 to the parties—nothing more.

    So, when is the point of no return? The possibilities could include:

        • The remand order (no review).
        • When the district court enters final judgment.
        • When the time to file a notice of appeal expires.
        • When the clerk of the court mails a certified copy of the remand order
           to the state court.
        • When the state court accepts jurisdiction and holds hearings.
        • When the state court rules on a merits-based decision.
        • When the defendant answers the complaint in state court.
        • When discovery begins.
    The remand order itself is a significant event. “When a district court remands
 a case to a state court, the district court disassociates itself from the case
 entirely, retaining nothing of the matter on the federal court's docket.”
 Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 714 (1996). The remand order
 denies the parties access to the federal forum, placing them “effectively out of
 the court.” Id. The effect is “precisely to surrender jurisdiction of a federal suit
 to state court[.]” Id.

    Some courts have determined that certain remand orders aren’t subject to
 review or reconsideration after the time to file a notice of appeal has expired. In
 the bankruptcy context, for example, courts have held that “remand is complete
 upon entry of the Court's order, a judicial function, rather than upon the
 completion of the ministerial functions of certification and mailing.” In re

                                           8
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.490 Page 9 of 11




 Cunningham, 600 B.R. 898, 905 (Bankr. N.D. Ga. 2019). “The failure to file a
 timely notice of appeal in a bankruptcy case deprives both the district court and
 [court of appeals] of jurisdiction.” Matter of Dorsey, 870 F.3d 359, 362 (5th Cir.
 2017).

    Alternatively, in some circumstances, reviewability ceases when the clerk of
 the court sends the remand order to state court. Indeed, courts have held that
 the federal court formally transfers jurisdiction by mailing a certified copy of
 the remand order to state court. See Agostini v. Piper Aircraft Corp., 729 F.3d
 350, 356 (3d Cir. 2013). According to those courts, that’s where Congress has
 drawn the jurisdictional line on the district court’s discretion to reconsider
 remand orders grounded in 28 U.S.C. 1447(c). Id.

    Finally, this remanded state court action has advanced too far for
 reconsideration. See New Mexico Ctr. on L. & Poverty v. Squier, 131 F. Supp. 3d
 1241, 1244 (D.N.M. 2014) (“the state court proceedings are to be interfered with
 once, at most.”). The City represents that the “state court case has not advanced
 at all.” That isn’t correct—it has progressed in important ways. For example, the
 State Court denied the City’s motion to dismiss Plaintiffs’ unnecessary rigor
 claim. Moreover, the parties are passed the pleading stage and have exchanged
 initial disclosures. Any reconsideration of the remand should have been
 resolved before the State Court made important decisions on the merits, if not
 long before.

    In sum, there are limits on the district court’s discretion to review remand
 orders, and the weight of authority manifests against the indefinite rule
 suggested by the City.

                                           9
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.491 Page 10 of 11




     2. Even if the Court can reconsider the Remand Order, it shouldn’t
        because the State Claims involve important questions of state law, and
        the Court should let the state courts resolve them.

     “The district courts may decline to exercise supplemental jurisdiction over a
  claim under subsection the claim raises a novel or complex issue of State law.”
  28 U.S.C. § 1367(c).

     The State Claims include novel and complex issues of state law. Among them
  is the meaning of the Unnecessary Rigor Clause expressed in article I, section 9
  of the Utah Constitution. “Although the first sentence of article I, section 9
  closely approximates the language of the Eighth Amendment to the United
  States Constitution, the unnecessary rigor provision has no federal counterpart.”
  Dexter v. Bosko, 2008 UT 29, ¶ 7. “The prohibition against unnecessary rigor
  clearly includes intentional physical abuse of persons under arrest or
  imprisoned.” Id. ¶ 16. “The relative rarity of unnecessary rigor clauses results in
  a dearth of unnecessary rigor jurisprudence in other jurisdictions, and [Utah
  Courts] have had few opportunities to interpret or apply the unnecessary rigor
  clause of the Utah Constitution.” Id.
     Similarly, Plaintiffs’ wrongful death claim involves article XVI, section 5 of
  the Utah Constitution. There is no reasonable dispute about the existence of
  novel state and complex issues of state law in the State Claims, and their
  presence weighs against reconsideration of the Remand Order.
     Given the State Court’s consent to coordinated discovery, the City’s concerns
  about costs are exaggerated. The principles of the justice system are served by
  allowing the State Claims to proceed in State Court where they were filed



                                           10
Case 2:19-cv-00553-HCN-CMR Document 54 Filed 02/04/22 PageID.492 Page 11 of 11




  originally, and where they returned on remand. The costs are slight in
  comparison.
                                      Conclusion

     The City seeks extraordinary relief. It asks the Court to divest a State Court
  (it’s undisputed jurisdiction is proper) of jurisdiction over State Claims (it’s
  undisputed they involve novel issues of state law). The request is untimely and
  the Court should not exercise supplemental jurisdiction even if it had discretion
  to do so. Plaintiffs respectfully request the Court deny the motion to reconsider.


        DATED: February 4, 2022

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                                            11
